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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                            GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

v.                                                    CASE NO. 1:05-cr-17-MP-GRJ

GREGORY J. HALL

_____________________________/

                          REPORT AND RECOMMENDATION

       This case is before the Court on Doc. 483, Defendant’s pro se motion to vacate,

set aside, or correct sentence pursuant to 28 U.S.C. § 2255. The motion stems from

Defendant’s jury trial conviction for one count of conspiracy to distribute and possess

with intent to distribute cocaine base, in violation of 21 U.S.C. §§ 841(b)(1)(A)(iii) and

846, and one count of distribution of cocaine base in violation of 21 U.S.C.

§§ 841(b)(1)(B)(iii) and 841(b)(1)(C). Defendant was sentenced to life imprisonment on

the conspiracy charge and to a concurrent sentence of 360 months on the distribution

charge. The Government has filed a Response, and Defendant has filed a reply.

(Docs. 488, 490.) Upon due consideration of Defendant’s motion to vacate, the

Government’s response, and Defendant’s reply, the undersigned recommends that the

motion to vacate be denied.1

                                       Background

       Defendant and his four co-defendants were cocaine and crack dealers in

Alachua, Florida. They operated a drug marketplace in a small neighborhood, where



       1
       The issues presented by the motion may be resolved on the basis of the record,
and therefore no evidentiary hearing is necessary. See Rule 8, Rules Governing
Section 2255 Proceedings.
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each dealer’s station was known as a “Tree.” At trial, twenty-five witnesses testified

that they had purchased drugs from Defendant. The Florida Department of Law

Enforcement began investigating the Trees in 2001 by executing controlled buys of

cocaine and crack. On appeal, the circuit court found the “nature of the common

enterprise [] best demonstrated by” the testimony of an informant who stated that he

had attempted to buy drugs from one dealer who had insufficient supply to fulfill the

request. That dealer asked Defendant for the drugs, who in turn asked for drugs from

another dealer. United States v. Brown, 587 F.3d 1082, 1086 (11th Cir. 2009).

Eventually the FDLE executed a search warrant of the house of the mother of

Defendant’s co-conspirator and Defendant and his co-defendants were arrested. Co-

defendant Corey Brown moved to sever his own trial from that of the other defendants,

but the motion was denied.

        Defendant was found guilty of one count of conspiracy to distribute and possess

with intent to distribute cocaine base, and one count of distribution of cocaine base.

Defendant was found not guilty of a second count of distribution of cocaine base on a

different date. Co-defendant Brown was found guilty of all charges at trial, while the

other three co-defendants pled guilty to conspiracy to distribute and possess with intent

to distribute cocaine and crack cocaine. Defendant was sentenced to life imprisonment

on the conspiracy charge – the statutory minimum – and to 360 months imprisonment

on the distribution charge, which was the bottom of the guidelines range. Petitioner

unsuccessfully appealed his conviction and sentence. Brown, 587 F.3d at 1093.

        Defendant filed the instant motion to vacate, set aside, or correct sentence

pursuant to 28 U.S.C. § 2255 on August 2, 2010. Defendant contends that (1) his trial

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counsel was ineffective for failing to present any defense; (2) his trial counsel refused to

file an appeal and the substitute counsel failed to present an appeal; (3) the Court failed

to make a drug quantity finding prior to sentencing; and (4) the Sentencing Guidelines

were inappropriately treated as mandatory. (Doc. 483.)

                                   Standard of Review

        A prisoner is entitled to relief under § 2255 if the court imposed a sentence that

(1) violated the Constitution or laws of the United States, (2) exceeded the court’s

jurisdiction, (3) exceeded the maximum authorized by law, or (4) is otherwise subject to

collateral attack. 28 U.S.C. § 2255; United States v. Phillips, 225 F.3d 1198, 1199 (11th

Cir. 2000); United States v. Walker, 198 F.3d 811, 813 n.5 (11th Cir. 1999). Collateral

review is not a substitute for direct appeal, and therefore the grounds for collateral

attack on final judgments pursuant to § 2255 are extremely limited. “Relief under 28

U.S.C. § 2255 ‘is reserved for transgressions of constitutional rights and for that narrow

compass of other injury that could not have been raised in direct appeal and would, if

condoned, result in a complete miscarriage of justice.’” Lynn v. United States, 365 F.3d

1225, 1232 (11th Cir. 2004) (citations omitted). Further, disposition of a claim of error

on direct appeal precludes further review in a subsequent collateral proceeding. See,

e.g., Mills v. United States, 36 F.3d 1052, 1056 (11th Cir. 1994).

        Because Defendant asserts claims of ineffective assistance of counsel, a review

of Strickland is appropriate. To prevail on a constitutional claim of ineffective

assistance of counsel, a defendant must demonstrate (1) that his counsel’s

performance was below an objective and reasonable professional norm, and (2) that he

was prejudiced by this inadequacy. Strickland v. Washington, 466 U.S. 668, 686

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(1984). The court may dispose of the claim if a defendant fails to carry his burden of

proof on either the performance or the prejudice prong. Id. at 697. The court need not

address the adequacy of counsel’s performance when a defendant fails to make a

sufficient showing of prejudice. Id.; see also Tafero v. Wainright, 796 F.2d 1314, 1319

(11th Cir. 1986).

        With regard to the performance prong of Strickland, a defendant must provide

factual support for his contentions that counsel’s performance was constitutionally

deficient. Smith v. White, 815 F.2d 1401, 1406-07 (11th Cir. 1987). The court must

consider counsel’s performance in light of all of the circumstances at that time and

indulge in a strong presumption that counsel’s conduct fell within the wide range of

reasonably professional assistance. Strickland, 466 U.S. at 689-90. To show counsel’s

performance was unreasonable, a defendant must establish that “no competent

counsel would have taken the action that his counsel did take.” Grayson v. Thompson,

257 F.3d 1194, 1216 (11th Cir. 2001) (emphasis omitted).

        To show prejudice, a defendant must show more than simply that counsel’s

unreasonable conduct might have had “some conceivable effect on the outcome of the

proceeding.” Strickland, 466 U.S. at 693. Instead, a defendant must show a

“reasonable probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.” Id. at 694.

                                        Discussion

                             (1) Failure to Present a Defense

        Defendant argues that his trial counsel rendered constitutionally ineffective

assistance through a series of errors “which left him with no defense at all.” (Doc. 483,

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at 8.) Defendant first asserts that his trial counsel was ineffective for failing to request

that the trial court sever his trial from the trial of his co-defendant, Corey Brown.

Defendant argues that his trial was tainted by evidence of the bad acts of his co-

defendant, and that his counsel “should have insisted that the trial judge carefully

instruct the jury to consider evidence of guilt separately as to each defendant.” Id.

Defendant claims because his trial counsel did not insist on such an instruction, the jury

mistakenly attributed acts of his co-defendant to him.

        Defendant’s counsel did not request that his trial be severed from the trial of his

co-defendants. Defendant Corey Brown did file such a motion, however, arguing that

his trial alongside that of his co-defendant Hall might present a Confrontation Clause

problem under Bruton v. United States, 391 U.S. 123 (1968). The trial court denied the

motion on the grounds that “a Bruton issue is not present at this time.” (Doc. 154, at 1.)

Defendant Brown appealed the decision not to sever his trial, but the Eleventh Circuit

declined to address the issue because he presented a different argument to the circuit

court than he had presented to the district court.

        Defendant has not shown that his trial counsel’s failure to request a severance

was deficient performance. Co-defendant Brown had moved for a severance, and it

was reasonable for Defendant’s trial counsel to strategically wait for the result of that

motion, which, if successful, would have allowed Defendant to have his own trial. Even

assuming that trial counsel’s performance was deficient, however, Defendant has failed

to show that he was prejudiced by the fact that he and co-defendant Brown were tried

together. Contrary to Defendant’s assertion that the jury was not instructed to consider

evidence against him and evidence against Brown separately, the trial court very clearly

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instructed the jury:

               A separate crime or offense is charged against one or both of the
        Defendants in each count of the indictment. Each charge, and the
        evidence pertaining to it, should be considered separately. Also, the case
        of each Defendant should be considered separately and individually. The
        fact that you may find one of the Defendants guilty or not guilty of any of
        the offenses charged should not affect your verdict as to any other
        offense or any other Defendant.

(Doc. 488-3, at 4.)

Defendant’s assumption that the jury improperly attributed Brown’s bad acts to him is

belied by the fact that the jury actually acquitted him of one count of distribution of crack

cocaine. (Doc. 488-4, at 4.) A review of the record in this case reveals no evidence

that the jury’s finding that Defendant was guilty of two of the three counts was due to

any improper evidence related to Brown. Rather, as the Eleventh Circuit noted, “the

Government presented overwhelming evidence that Hall conspired with others to create

a marketplace to assist each other in supplying drugs for their customers for a

protracted period of time.” Brown, 587 F.3d at 1092 (emphasis added). The

Government also presented evidence that Defendant himself had distributed drugs.

Accordingly, Defendant can show no prejudice resulting from his counsel’s failure to

request that his trial be severed from Brown’s trial.

        Defendant next argues that his counsel failed “to subject the prosecution to

meaningful adversarial challenges.” Id. at 9. He asserts that his trial counsel failed to

conduct any pre-trial discovery, failed to advise Defendant of the benefit of pleading

guilty, failed to allow Defendant to subpoena witnesses, failed to impeach government

witnesses, failed to present mitigating evidence at sentencing, failed to request a

downward departure at sentencing, and failed to adequately advise Defendant of his

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right to appeal. Defendant has presented no specific factual support for these claims,

which are both conclusory and unsupported by the record. There is no evidence that

Defendant’s trial counsel failed to conduct discovery, failed to advise him of the

opportunity to plead guilty, failed to allow him to subpoena witnesses, and failed to

impeach government witnesses. In the absence of any supporting facts whatsoever

with respect to these claims, Defendant cannot meet his burden of showing that his

counsel’s performance was deficient.

        With respect to Defendant’s allegation that his counsel failed to present

mitigating evidence at sentencing and failed to request a downward departure,

Defendant does not address the fact that his sentence of life imprisonment on Count

One – the conspiracy charge – was mandated by statute. The Government properly

filed an Information and Notice of Prior Convictions pursuant to 21 U.S.C. §§ 851 and

841(b)(1)(A), noting that Defendant had two prior felony convictions for the sale of

cocaine. (Doc. 55.) The Notice further stated that where an individual is convicted

under 21 U.S.C. § 841(b)(1)(A)(ii) and (iii) and has two prior felony drug convictions, the

minimum mandatory sentence is life imprisonment.

        Accordingly, the fact that Defendant’s counsel’s did not present mitigating

evidence and did not request a downward departure was not deficient performance,

because the trial court had no discretion to depart from the minimum mandatory

sentence. Indeed, at sentencing, Defendant’s counsel stated that he and Defendant

“have discussed the fact that there’s a statutory mandatory penalty here, frankly,

although his family I here and probably would like to say things to the Court, there is

little to be said because you don’t have any discretion in this matter.” (Doc. 471, at 4.)

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The trial court responded “All right,” and inquired if the Government had anything to

offer, before imposing the sentence of life imprisonment on Count One and 360 months

imprisonment on Count Two. Id. Under these circumstances, even if Defendant’s

counsel had presented mitigating evidence and requested a downward departue,

Defendant cannot show prejudice because he would have been sentenced to life

imprisonment regardless of his counsel’s actions or inactions.

        Accordingly, the undersigned concludes that Defendant has established neither

the deficient performance nor prejudice prongs of Strickland with regard to this claim.

                             (2) Failure to Present an Appeal

        Defendant alleges that his trial counsel failed to file an appeal on his behalf, and

that as a result, he was appointed substitute counsel. This substitute counsel was

unfamiliar with the details of his case and “failed to appeal any worthwhile issues.”

(Doc. 483, at 11.) Defendant also complains that appellate counsel failed to raise the

issue of his trial counsel’s ineffectiveness.

        A review of the Eleventh Circuit’s opinion in this case reveals that Defendant’s

appellate counsel raised a number of issues to the circuit court, arguing that there was

a variance in the conspiracy alleged in the indictment and the evidence presented at

trial, and that the district court erred in admitting a copy of the audiotape of a controlled

buy between a confidential informant and Defendant. Defendant offers only the

conclusory allegation that his appellate counsel was unfamiliar with his case, and

presents no factual support for this allegation whatsoever. The Eleventh Circuit

addressed Defendant and co-defendant Brown’s appeal in a twenty-page, thoroughly

analyzed published opinion. Thus, there is simply no support for Defendant’s assertion

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that he had “no appeal.” (Doc. 483.)

         With respect to Defendant’s contention that his appellate counsel failed to raise

the issue of his trial counsel’s ineffectiveness, the Eleventh Circuit has stated that

“[i]neffective assistance of counsel claims are generally not considered for the first time

on appeal, except in cases where the record is sufficiently developed.” United States v.

Scott, 280 F. App’x 926, 930 (11th Cir. 2008) (citing United States v. Verbitskaya, 406

F.3d 1324, 1337 (11th Cir. 2005)). “The preferable means for deciding a claim of

ineffective assistance of counsel is through a 28 U.S.C. § 2255 motion.” Id.

         In this case, there is no indication that the record was sufficiently developed on

appeal for Defendant’s appellate counsel to have successfully raised a claim that the

trial counsel was constitutionally ineffective. Defendant has failed to show that his

appellate counsel’s performance was deficient. Even if his counsel’s performance was

deficient, however, Defendant has had a full opportunity to present his arguments

concerning his trial counsel’s alleged ineffectiveness in the instant motion, and

accordingly can show no prejudice.

         On this record, the undersigned concludes that Defendant has established

neither the deficient performance nor prejudice prongs of Strickland with regard to this

claim.

             (3) Failure to Make a Drug Quantity Finding Prior to Sentencing

         Defendant claims that the trial court never made a finding of the drug quantity

that was attributable to him in the conspiracy, and appears to assert that the Court

inappropriately estimated the quantity of drugs attributable to him by attributing the

entire amount of the conspiracy to him alone. This claim is without merit. The verdict

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form prepared by the trial court included special interrogatories to permit the jury to

make explicit factual findings as to the drug quantities attributable to each defendant.

(Doc. 488-4.) With respect to the conspiracy charge, the jury found that Defendant had

conspired to manufacture, distribute, and possess with intent to manufacture and

distribute “5 kilograms or more” of cocaine, and “50 grams or more” of crack cocaine.

Id. at 3. With respect to the distribution charge, the jury found that Defendant had

distributed “5 grams or more” of crack cocaine. Id. at 4.

        As discussed above regarding Defendant’s first claim, there is no evidence that

the jury improperly attributed drug quantities to Defendant that should have been

attributed to co-defendant Brown. The trial court properly instructed the jury that it

should consider evidence as to each defendant separately, and the jury did so, making

explicit factual findings as to the quantity of drugs involved in each count. These factual

findings in turn supported the trial court’s imposition of a mandatory minimum life

sentence as to Count One, and 360 months imprisonment as to Count Two.

        Accordingly, this claim is due to be denied.

                 (4) Treatment of the Sentencing Guidelines as Mandatory

        Defendant argues that he should not have received a life sentence because his

prior drug convictions should have been considered misdemeanors rather than felonies.

He asserts that he was eligible for a downward departure based on the § 3553(a)

sentencing factors, and that the trial court inappropriately failed to consider those

factors and treated the sentencing guidelines as mandatory.

        This claim is without merit. Defendant makes the conclusory assertion that his

prior felony drug convictions for dealing cocaine, properly noticed in an Information and

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Notice of Prior Convictions (Doc. 55), should have been considered misdemeanors

rather than felonies. Defendant provides no factual support for this assertion

whatsoever, and there is no evidence on this record that the prior convictions were

improperly categorized as felonies.

        As discussed above, because Defendant had two prior felony drug convictions,

he was subject to a mandatory minimum sentence of life imprisonment on Count One.

Because the trial court’s imposition of a life sentence was mandated by statute,

Defendant’s assertion that the trial court improperly treated the Sentencing Guidelines

as mandatory is without merit. Likewise, Defendant was not eligible for a downward

departure in sentencing because of the mandatory minimum nature of the sentence.

Accordingly, this claim is due to be denied.

                             (5) Admission of Testimonial Statements

        In the conclusion of his memorandum of law, Defendant asserts briefly that the

government’s recordings of the controlled buy conducted by a confidential informant

should have been considered inadmissible because the confidential informant did not

testify at trial, thus violating Crawford v. Washington, 541 U.S. 36 (2004). Defendant

does not list this purported error as one of his claims and does not describe the

purported error in any detail. Nor did Defendant raise this error on appeal to the

Eleventh Circuit. Defendant has presented no argument to justify his procedural default

of this issue. Accordingly, the undersigned finds that this claim is due to be denied.

                                           Conclusion

        In light of the foregoing, it is respectfully RECOMMENDED:

        That the motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C.

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§ 2255, Doc. 483, should be DENIED and that a certificate of appealability should be

DENIED.

        IN CHAMBERS this 17th day of May 2013.



                                               s/ Gary R. Jones s/GaryR.Jone
                                               GARY R. JONES
                                               United States Magistrate Judge


                                      NOTICE TO THE PARTIES
        Pursuant to Fed. R. Civ. P. 72(b)(2), a party may file specific, written objections to the
proposed findings and recommendations w ithin 14 days after being served w ith a copy of this report
and recommendation. A party may respond to another party’s objections w ithin 14 days after being
served w ith a copy thereof. Failure to file specific objections limits the scope of review of proposed
factual findings and recommendations.




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